         Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 1 of 19. PageID #: 1



                            UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO
                                  WESTERN DIVISION

                                                                 3:£3 CV 1123
MATTHIAS LEGUIRE, et al.,                                        CIVIL ACTION NO:

Plaintiff.                              Fl LED                   COMPLAINT
                                                                 421983 Civil Right
                                      JUN 0 5 2023                Vjolatlon with (Jury
                                   CLERK, u s DISTRICT COURT      Demand Endorsed Hereon)
                                   NORTHERN DISTRICT OF OHIO                       ^     H r>--s

V.
                                                               JUDGE JAMES G.CARR
THE CITY OF FINDLAY, etal.,
MAYOR CHRISTINA MURYN,
DONALD RASMUSSEN,                                               MAG JUDGE CLAY
ERIKADKINS,
FINDLAY CITY COUNCIL MEMBERS,
GRANTRUSSEL,JEFF WOBSER, RANDY GREENO,                           ^
JIM NIEMEYER, BRIAN BAUMAN,JIM SLOUGH,                    1            v\nA/
BETH WARNECKE, DENNIS HELLMAN, JOHN HARRINGTON,
HOLLY FRISHE
318 DORNEY PLAZA
FINDLAY, OH

DICK'S TOWING SERVICE,
ERIK STERNS,
4404 ALLEN TOWNSHIP 142
FINDLAY, OH 45840

FINDLAY CITY POLICE DEPARTMENT.
CAPTAIN JIM MATHIAS, OFFICER JOE SMITH,
LT DAVID HILL,
318 DORNEY PLAZA
FINDLAY. OH


SHERIFF MICHAEL HELDMAN.
200 W CRAWFORD ST.
FINDLAY, OH 45840

CHRISTOPHER NEELY
841 HAWTHORNE RD.
FINDLAY, OH 45840
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 2 of 19. PageID #: 2
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 3 of 19. PageID #: 3
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 4 of 19. PageID #: 4
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 5 of 19. PageID #: 5
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 6 of 19. PageID #: 6
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 7 of 19. PageID #: 7
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 8 of 19. PageID #: 8
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 9 of 19. PageID #: 9
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 10 of 19. PageID #: 10
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 11 of 19. PageID #: 11
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 12 of 19. PageID #: 12
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 13 of 19. PageID #: 13
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 14 of 19. PageID #: 14
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 15 of 19. PageID #: 15
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 16 of 19. PageID #: 16
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 17 of 19. PageID #: 17
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 18 of 19. PageID #: 18
Case: 3:23-cv-01123-JRK Doc #: 1 Filed: 06/05/23 19 of 19. PageID #: 19
